                                                           27-CV-21-9764
                                                                                                                                  Filed in District Court
              CASE 0:21-cv-01829-DSD-DTS Doc. 1-12 Filed 08/12/21 Page 1 of 1                                                       State of Minnesota
                                                                                                                                    8/10/2021 1:24 PM
State of Minnesota                                                                                                    District Court

                                                  EXHIBIT L
Hennepin County                                                                                              Fourth Judicial District
                                                                                                Court File Number: 27-CV-21-9764
                                                                                                         Case Type: Personal Injury

                                                                                        Notice of Judicial Assignment-
                                                                                             General Civil Block Cases


             FILE COPY




NORHAN ASHRAF ASKAR vs Hennepin County, Ramsey County, RAMSEY COUNTY SHERIFFS DEPARTMENT,
John Does, Hennepin County Sheriffs Department et. al.

Date Case Filed: August 09, 2021
All future papers must include the above file number, name of assigned judge, attorney identification number, and must
otherwise conform to format requirements or they will be returned.

This case is assigned the following judicial officer for all further proceedings:

           District Court Judge James Moore
           612-596-1068

Mailing Address: 300 South Sixth Street, MC 332, Minneapolis, MN 55487-0332

Parties:           If you receive this notice and have obtained an attorney, notify him/her of this assignment immediately.

Attorneys:         Only the first listed attorney for a party is being sent this notice. If you are the attorney receiving this
                   notice, contact all other attorneys representing your party of the judge assignment and requirements.

                   The filing attorney/party is responsible for notifying all attorneys/parties not listed on the Civil Cover Sheet
                   of the judge assignment and requirements.

                   Per Supreme Court order, e-filing is mandatory in this case for all attorneys and government agencies.
                   Unrepresented parties are excluded by this order. Attorneys or government agencies must also e-serve all
                   documents required or permitted to be served on other attorneys or government agencies. Upon receipt of
                   this notice, attorneys and government agencies shall immediately add their firm/agency’s service
                   contact(s) for this case to the e-filing system. For further information on e-filing, go to:
                   http://www.mncourts.gov/district/4/?page=3953.

All future hearings and trial dates will be scheduled by the courtroom staff. Check with the Court Display Monitors on the
Public Service Level for the location on the day of the hearing.

A notice to remove this judicial officer must comply with Minnesota Rules of Civil Procedure 63.03 and Minnesota Statute §
542.16.

Failure to timely file any required document or other failure to comply with the General Rules of Practice for the District
Courts may result in the impositions of sanctions, including possible dismissal of the case or striking of the Answer.

The Minnesota Supreme Court has adopted time objectives for the disposition of civil cases. The Fourth Judicial District
adheres to these objectives which are: 90% of the cases should be disposed of within 12 months, 97% within 18 months,
and 99% within 24 months of filing.

Dated: August 10, 2021                                     Sarah Lindahl-Pfieffer
                                                           Court Administrator
                                                           Hennepin

cc:   RACEY JAMES RODNE
      KIMBERLY ROSS PARKER
